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 8                                UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10    NATURAL RESOURCES DEFENSE                       No. 1:05-cv-01207-DAD-EPG
      COUNCIL, et al.,
11                                                    ORDER GRANTING REQUEST FOR ENTRY
                    Plaintiffs,                       OF SEPARATE JUDGMENT PURSUANT TO
12                                                    FEDERAL RULE OF CIVIL PROCEDURE
      v.                                              54(B)
13
      DAVID BERNHARDT, Acting Secretary,
14    U.S. Department of the Interior, et al.,        ORDER DISMISSING AS MOOT SEVENTH
                                                      CLAIM FOR RELIEF
15                  Defendants.

16
      SAN LUIS & DELTA MENDOTA
17    WATER AUTHORITY, et al.,
18                   Defendant-Intervenors.
19
      ANDERSON-COTTONWOOD
20    IRRIGATION DISTRICT, et al.,
21                   Joined Parties.
22

23                                            INTRODUCTION

24           On March 12, 2018, plaintiffs, a coalition of environmental interest groups led by the

25    Natural Resources Defense Council (“NRDC”), filed the currently operative Sixth Supplemental

26    Complaint (“6SC”), which includes numerous claims brought under the Administrative Procedure

27    Act (“APA”), 5 U.S.C. § 701 et seq., and the Endangered Species Act (“ESA”), 16 U.S.C. § 1531

28    et seq., against the U.S. Bureau of Reclamation (“Bureau” or “Reclamation”), the U.S. Fish and
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 1    Wildlife Service (“FWS”) (collectively, “Federal Defendants”), and various Joined Defendants

 2    and Defendant Intervenors. (See generally Doc. No. 1187.)

 3            Before the court for decision are two sets of remaining issues/motions. First, plaintiffs

 4    request entry of separate judgment pursuant to Federal Rule of Civil Procedure 54(b) on certain

 5    claims in this case (the second, fourth, and fifth claims in the 6SC) even though other claims

 6    remain unresolved. (Doc. No. 1384). The Federal Defendants (Doc. No. 1387) and certain

 7    Defendant-Intervenors (Doc. No. 1388) oppose entry of separate judgment.1 Second, the parties

 8    dispute the status of plaintiffs’ seventh claim for relief, which seeks injunctive relief compelling

 9    deposition testimony in this matter by certain federal government employees. Federal Defendants

10    argue that plaintiffs’ seventh claim must be dismissed due to lack of subject matter jurisdiction

11    (Doc. Nos. 1381, 1399), while plaintiffs maintain that they have already prevailed on, and are

12    therefore entitled to judgment in their favor as to, that claim (Doc. No. 1400). For the reasons set

13    forth above, plaintiffs’ motion for entry of separate judgment will be granted and the seventh

14    claim for relief will be dismissed as moot.

15                                       PROCEDURAL HISTORY

16            Resolution of the remaining issues in this case requires a brief summary of relevant

17    aspects of the extensive and highly complex procedural history of this case, which has now been

18    pending before the court for more than fifteen years.

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        The court notes that Federal Defendants’ and Defendant-Intervenors’ arguments in opposition
      to entry of separate judgment are at least partially entangled with other arguments they made in
25    the context of their motions to stay and/or dismiss plaintiffs’ sixth claim for relief. On January
26    22, 2020, the previously-assigned district judge stayed, rather than dismissed as moot, plaintiffs’
      sixth claim for relief. (Doc. No. 1394.) Even though defendants’ preferred outcome would have
27    been dismissal of the sixth claim, allowing for entry of final judgment on all remaining claims in
      the case, the court nonetheless interprets their briefs as asserting a general opposition to entry of
28    separate judgment with respect to plaintiffs’ second, fourth, and fifth claims for relief.
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 1           In February 2005, plaintiffs initiated this lawsuit, challenging an initial (issued in 2004)

 2    version of an ESA biological opinion2 (“BiOp”) issued by FWS that evaluated the impact on the

 3    ESA-listed delta smelt of the then-in-force coordinated operations plan for the Central Valley

 4    Project (“CVP”) and State Water Project (“SWP”) (known as the Operations Criteria and Plan, or

 5    “OCAP”). (Doc. No. 1.) Subsequent amendments to the complaint updated plaintiffs’ allegations

 6    to include challenges to an updated version (issued in 2005) of FWS’s BiOp (“2005 FWS BiOp”).

 7    (Doc. No. 403 (Second Amended Complaint (“SAC”)).) Plaintiffs raised numerous challenges to

 8    the legal sufficiency of the 2005 FWS BiOp in their SAC. (Id.) Among other things, the SAC

 9    alleged that the 2005 FWS BiOp did not “adequately consider or address the effects of [certain]

10    long-term water service contracts on threatened and endangered species,” (id. at ¶ 32), and that

11    the Bureau “has taken and is taking actions that could foreclose implementation of reasonable and

12    prudent alternatives that would avoid jeopardy, including but not limited to signing and

13    implementing new long-term contracts promising delivery of substantially increased quantities of

14    water, in violation of [ESA] section 7(d).” (Id. at ¶ 81.) In 2007, summary judgment was granted

15    in favor of plaintiffs on their first claim for relief against FWS under the APA, and the 2005 FWS

16    BiOp was set aside as unlawful. Natural Res. Def. Council v. Kempthorne, 506 F. Supp. 2d 322

17    (E.D. Cal. 2007) (Doc. No. 323). The Bureau did not appeal.

18           During the remedies phase that followed the May 25, 2007, summary judgment order,

19    plaintiffs amended their complaint to add causes of action against the Bureau, in part to resolve

20    uncertainty as to the court’s authority to enjoin the Bureau’s implementation of the OCAP. (See
21    Doc. Nos. 575, 567 at 2–3.) Plaintiffs also pursued claims alleging that because the Bureau had

22    2
        Section 7 of the ESA requires federal agencies to ensure that their activities do not jeopardize
23    the continued existence of listed endangered or threatened species or adversely modify those
      species’ critical habitats. 16 U.S.C. § 1536(a)(2). An agency proposing to take an action (the
24    “action agency”) must first inquire whether any threatened or endangered species “may be
      present” in the area of the proposed action. See 16 U.S.C. § 1536(c)(1). If any ESA-listed
25    species may be present and the action agency preliminarily determines any such species “is likely
26    to be affected” by the proposed action, the agency must formally consult with either FWS or the
      National Marine Fisheries Service (“NMFS”), depending on the species at issue. See id.
27    § 1536(a)(2); 50 C.F.R. § 402.14. Formal consultation results in the issuance of a “biological
      opinion” by FWS and/or NMFS that evaluates whether the proposed action would jeopardize the
28    species or destroy or adversely modify its critical habitat. See 16 U.S.C. §§ 1536(a)(2), 1536(b).
                                                        3
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 1    executed numerous long-term contracts to deliver water from the CVP in reliance on the now-

 2    invalid 2005 FWS BiOp, those contracts should be enjoined and/or rescinded. (See Doc. No. 761

 3    at 3–4).3

 4            The district court evaluated plaintiffs’ challenges to these contracts in two batches:

 5    challenges to contracts belonging to south-of-Delta water service contractors within the Delta-

 6    Mendota Canal Unit of the CVP (collectively, the “DMC Contractors”); and challenges to

 7    contracts held by a coalition of “senior” water rights holders, the Sacramento River Settlement

 8    Contractors, (collectively, the “Settlement Contractors” or the “SRS Contractors”). As to the

 9    DMC Contractors, the district court found that those contracts contained a “pass-through”

10    shortage provision which allowed the Bureau to reduce water allocations whenever necessary to

11    comply with the ESA. (Id. at 38.) As a result of that provision, the district court held that

12    plaintiffs did not have standing to challenge execution of those contracts because the contracts

13    themselves could cause them no harm. (See id. at 40.) After further briefing and analysis, the

14    district court found that plaintiffs’ requested remedy regarding the SRS Contracts was unavailable

15    because the Bureau’s discretion to reduce diversions under renewed versions of those contracts

16    was “substantially constrained” by terms of the prior contracts. (See generally Doc. No. 834.)

17    On September 23, 2009, the district court entered final judgment as to plaintiffs’ first, second, and

18    third causes of action as alleged in the then-operative third supplemental complaint. (Doc. No.

19    873.)

20            Appeals were then taken as to certain issues related to the contractual remedies sought by
21    plaintiffs. (Doc. Nos. 880, 887, 892.) A divided three-judge panel of the Ninth Circuit affirmed

22    the district court’s order. Natural Res. Def. Council v. Salazar, 686 F.3d 1092 (9th Cir. 2012).

23    The Ninth Circuit subsequently voted to hear the case en banc, and the en banc panel reversed.

24    Natural Res. Def. Council v. Jewell, 749 F.3d 776 (9th Cir. 2014); (Doc. Nos. 931, 935).

25    /////

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      3
27      Certain of the contact-based claims against contractors who had not yet been joined were
      dismissed without prejudice to those contractors being properly added to the case. (Doc. No. 761
28    at 4–5.) Eventually, all the necessary contractors were joined to this action. (Id. at 5.)
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 1          The previously assigned district judge summarized the Ninth Circuit’s ruling as follows:

 2                 On the issue of standing related to the DMC Contracts, this Court
                   held that Plaintiffs could not establish that their injury is fairly
 3                 traceable to the Bureau’s alleged procedural violation because:
                   (1) the DMC Contracts contain a shortage provision that absolves
 4                 the government from liability for breaches that result from
                   complying with its legal obligations; (2) this provision permits the
 5                 Bureau to take necessary actions to meet its legal obligations under
                   the ESA; so (3) the Bureau could not have negotiated any
 6                 contractual terms that better protect the delta smelt, and, therefore,
                   any injury to the delta smelt is not traceable to the contract renewal
 7                 process. NRDC v. Kempthorne, No. 1:05-CV-1207 OWW [GSA],
                   2008 WL 5054115, at **11–18 (E.D. Cal. Nov. 19, 2008).
 8
                   The Ninth Circuit rejected this reasoning, finding instead that, “to
 9                 establish standing, a litigant who asserts a procedural violation
                   under Section 7(a)(2) need only demonstrate that compliance with
10                 Section 7(a)(2) could protect his concrete interests.” Id. at 783
                   (emphasis in original). The Ninth Circuit concluded that the
11                 consultation could have led to revisions that would have benefitted
                   the delta smelt:
12
                          Contrary to the district court’s finding, the shortage
13                        provision does not provide the delta smelt with the greatest
                          possible protection. Nothing about the shortage provision
14                        requires the Bureau to take actions to protect the delta smelt.
                          The provision is permissive, and merely absolves the United
15                        States of liability if there is a water shortage resulting from,
                          inter alia, “actions taken . . . to meet legal obligations.” But
16                        even if we read the provision to place an affirmative
                          obligation on the Bureau to take actions to benefit the delta
17                        smelt, the provision only concerns the quantity of water that
                          will be made available to the DMC Contractors. There are
18                        various other ways in which the Bureau could have
                          contracted to benefit the delta smelt, including, for example,
19                        revising the contracts’ pricing scheme or changing the
                          timing of water deliveries. Because adequate consultation
20                        and renegotiation could lead to such revisions, Plaintiffs
                          have standing to assert a procedural challenge to the DMC
21                        Contracts.
22                 Id. at 783–84.
23                 With regard to the Settlement Contracts, this Court held that,
                   although Plaintiffs have standing to assert procedural challenges to
24                 the Settlement Contracts, the Bureau was not required to consult
                   under Section 7(a)(2) prior to renewing the Settlement Contracts
25                 because the Bureau’s discretion in renegotiating these contracts was
                   “substantially constrained,” in light of a line of cases, including
26                 Nat’l Ass’n of Home Builders v. Defenders of Wildlife, 551 U.S.
                   644, 669 (2007), which stand for the proposition that there is no
27                 duty to consult for actions “that an agency is required by statute to
                   undertake.” Natural Res. Def. Council v. Kempthorne, 621 F.
28                 Supp. 2d 954, 1000 (E.D. Cal. 2009), decision clarified, 627 F.
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 1                Supp. 2d 1212 (E.D. Cal. 2009), on reconsideration, No. 1:05-CV-
                  1207 OWW SMS, 2009 WL 2424569 (E.D. Cal. Aug. 6, 2009). In
 2                holding that the Bureau was not required to consult under Section
                  7(a)(2) prior to renewing the Settlement Contracts, the district court
 3                focused on Article 9(a) of the original Settlement Contracts, which
                  provides in pertinent part:
 4
                         During the term of this contract and any renewals thereof:
 5                       (1) It shall constitute full agreement as between the United
                         States and the Contractor as to the quantities of water and
 6                       the allocation thereof between base supply and Project water
                         which may be diverted by the Contractor from its source of
 7                       supply for beneficial use on the land shown on Exhibit B ...;
                         (2) The Contractor shall not claim any right against the
 8                       United States in conflict with the provisions hereof.

 9                Id. at 979. This provision, according to the district court,
                  “substantially constrained” the Bureau’s discretion to negotiate new
10                terms in renewing the contracts, thereby absolving the Bureau of
                  the duty to consult under Home Builders. Id.
11
                  The Ninth Circuit rejected this reasoning:
12
                         Section 7(a)(2)’s consultation requirement applies with full
13                       force so long as a federal agency retains “some discretion”
                         to take action to benefit a protected species. [citations]
14                       While the parties dispute whether Article 9(a) actually limits
                         the Bureau’s authority to renegotiate the Settlement
15                       Contracts, it is clear that the provision does not strip the
                         Bureau of all discretion to benefit the delta smelt and its
16                       critical habitat.

17                       First, nothing in the original Settlement Contracts requires
                         the Bureau to renew the Settlement Contracts. Article 2 of
18                       the original contracts provides that “renewals may be made
                         for successive periods not to exceed forty (40) years each.”
19                       (emphasis added). This language is permissive and does not
                         require the Bureau to execute renewal contracts. Since the
20                       FWS has concluded that “Delta water diversions” are the
                         most significant “synergistic cause[ ]” of the decline in delta
21                       smelt, 58 Fed. Reg. at 12,859, it is at least plausible that a
                         decision not to renew the Settlement Contracts could benefit
22                       the delta smelt and their critical habitat.

23                       But even assuming, arguendo, that the Bureau is obligated
                         to renew the Settlement Contracts and that Article 9(a)
24                       limits the Bureau’s discretion in so doing, Article 9(a)
                         simply constrains future negotiations with regard to “the
25                       quantities of water and the allocation thereof . . . .” Nothing
                         in the provision deprives the Bureau of discretion to
26                       renegotiate contractual terms that do not directly concern
                         water quantity and allocation. And, as [is the case] with
27                       respect to the DMC Contracts, the Bureau could benefit the
                         delta smelt by renegotiating the Settlement Contracts’ terms
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 1                           with regard to, inter alia, their pricing scheme or the timing
                             of water distribution.
 2
                             For these reasons, we conclude that, in renewing the
 3                           Settlement Contracts, the Bureau retained “some discretion”
                             to act in a manner that would benefit the delta smelt. The
 4                           Bureau was therefore required to engage in Section 7(a)(2)
                             consultation prior to renewing the Settlement Contracts.
 5
                     NRDC v. Jewell, 749 F.3d at 784–85. The matter was reversed and
 6                   remanded for further proceedings. Id.

 7    (Doc. No. 979 at 7–9.)

 8            Meanwhile, while the appeal was pending, on December 15, 2008, FWS issued a revised

 9    BiOp (the “2008 FWS BiOp”), which, contrary to the findings of the 2004 and 2005 BiOps,

10    concluded that the OCAP would jeopardize the delta smelt and adversely modify its critical

11    habitat. NRDC v. Jewell, 749 F.3d at 781. The 2008 FWS BiOp became the subject of numerous

12    lawsuits. See generally San Luis & Delta Mendota Water Auth. v. Salazar, No. 1:09-cv-00407-

13    LJO-BAM. Plaintiffs in this matter intervened as defendants in the challenge to the 2008 FWS

14    BiOp.

15            In May 2015, after the Ninth Circuit’s remand and in light of the new “jeopardy” BiOp

16    issued in 2008, the United States moved to stay further litigation with respect to plaintiffs’

17    challenges to the contracts, indicating that Federal Defendants intended to re-initiate ESA

18    consultation on the long-term contracts. (Doc. Nos. 954, 955.) This court granted a six-month

19    stay at that time. (Doc. No. 979.) Thereafter, in an effort to satisfy its ESA consultation

20    obligations, Reclamation requested FWS’s concurrence that the impacts of long-term contract

21    renewals on delta smelt had already been assessed in the 2008 FWS BiOp. (Doc. No. 1020

22    (Fourth Supplemental Complaint (“4SC”)) at ¶¶ 103, 105.) Later that year, FWS responded by

23    sending a “letter of concurrence” (“2015 LOC”) concluding that “all of the possible effects to

24    delta smelt and its critical habitat by operating the CVP to deliver water under the SRS and DMC

25    Contracts were addressed in the [2008 FWS OCAP Smelt BiOp].” (Id. at ¶ 106.)

26            Thereafter, plaintiffs moved for (Doc. No. 999) and the court granted (Doc. No. 1018)

27    leave to amend their complaint to add three new claims in this action. Plaintiffs’ new fourth

28    claim for relief challenged the sufficiency of the ESA consultation between FWS and
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 1    Reclamation over the long-term contracts’ impacts to delta smelt—the consultation that resulted

 2    in the 2015 LOC. (4SC at ¶¶ 177–182). Plaintiffs were also permitted to add two claims related

 3    to the alleged impacts of CVP and SWP operations on ESA-listed winter-run and spring-run

 4    Chinook salmon. (Id. at ¶¶ 183–193.) Plaintiffs alleged that “the Bureau’s excessive releases” of

 5    water stored behind Shasta Dam, as well as “the SRS Contractors diversions” of that water,

 6    during the summer and fall of 2014 and 2015, caused the Bureau to “lose control of temperatures

 7    in the upper Sacramento River” which in turn “caused fatal increases in water temperatures that

 8    led to the near total loss of the 2014 and 2015 generations of winter-run and spring-run Chinook.”

 9    (Id. at ¶ 192.) In their fifth claim for relief plaintiffs alleged that, in light of the die off events that

10    took place in 2014 and 2015, Reclamation acted unlawfully by failing to reinitiate ESA

11    consultation with NMFS4 over the impacts of long-term contract renewal on winter-run and

12    spring-run Chinook. (Id. at ¶ 186.) According to plaintiffs, the 2014 and 2015 die offs “revealed

13    effects of the SRS contracts that were not previously considered.” (Id.) Finally, plaintiffs were

14    permitted to add a new related claim that Reclamation and the SRS Contractors illegally caused

15    the direct loss (or “take”) of winter-run and spring-run Chinook during 2014 and 2015 because

16    Reclamation made excessive deliveries to the SRS Contractors that depleted the cold water

17    reserves in Shasta Reservoir, causing temperature increases fatal to the 2014 and 2015 “brood

18    years” of winter-run and spring-run Chinook. (Id. at ¶¶ 189–193 (Sixth Claim for Relief).)

19            On February 17, 2017, the parties stipulated to permit amendment of the complaint to

20    allow plaintiffs to update their second claim for relief to add allegations to that claim pertaining to
21    Reclamation’s reliance on the 2015 LOC and to reflect that plaintiffs had complied with certain

22    pre-suit notice procedures. (See Doc. No. 1067.) The resulting fifth supplemental complaint was

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      4
         FWS and NMFS administer the ESA on behalf of the Departments of the Interior and
24    Commerce, respectively. See 50 C.F.R. §§ 17.11, 222.101(a), 223.102, 402.01(b). Generally,
      FWS has jurisdiction over species of fish that either (1) spend the major portion of their life in
25    fresh water, or (2) spend part of their lives in estuarine waters, if the remaining time is spent in
26    fresh water. See Cal. State Grange v. Nat’l Marine Fisheries Serv., 620 F. Supp. 2d 1111, 1120
      n.1 (E.D. Cal. 2008), as corrected (Oct. 31, 2008). NMFS is granted jurisdiction over fish
27    species which (1) spend the major portion of their life in ocean water, or (2) spend part of their
      lives in estuarine waters, if the remaining portion is spent in ocean water. Id. FWS exercises
28    jurisdiction over the delta smelt; NMFS over the winter-run and spring-run Chinook.
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 1    filed on March 1, 2017. (Doc. No. 1071.) For reasons related to a discovery dispute discussed in

 2    greater detail below, the parties again agreed to permit amendment of plaintiffs’ complaint to add

 3    a seventh claim for relief seeking to compel the Department of Commerce (“DOC”) to allow

 4    plaintiffs to depose two NMFS employees as fact witnesses in connection with the sixth claim for

 5    relief. (Doc. No. 1186.) The result was the filing of the currently-operative sixth supplemental

 6    complaint (“6SC”) on March 12, 2018. (Doc. No. 1188.)

 7           On February 23, 2017, the previously assigned district judge dismissed plaintiffs’ fifth

 8    claim for relief but allowed the sixth claim to move forward. (Doc. No. 1069.)

 9           On September 28, 2018, the previously assigned district judge resolved cross motions for

10    summary judgment concerning the sixth claim for relief—the claim in which plaintiffs allege that

11    the actions of Reclamation and the SRS Contractors resulted in the “take” of listed winter-run and

12    spring-run chinook on the Upper Sacramento River—leaving certain aspects of that claim to be

13    resolved at a bench trial. (Doc. No. 1269.) Resolution of that claim has been stayed pending the

14    outcome of challenges to even more recent biological opinions governing CVP and SWP

15    operations, which are now pending before the undersigned. (Doc. No. 1394.)

16           On February 26, 2019, the court resolved cross motions for summary judgment on the

17    second and fourth claims for relief. (Doc. No. 1314.) As explained above, in their fourth claim

18    for relief plaintiffs alleged that the 2015 LOC authored by FWS was the culmination of an

19    inadequate ESA consultation regarding the effects of long-term contract renewals on delta smelt.

20    The second claim for relief alleged that Reclamation acted unlawfully by accepting the 2015 LOC
21    and implementing the long-term water supply contracts in reliance on the 2015 LOC. (Id. at ¶¶

22    176–182.) In a complex, 67-page ruling, the previously assigned district judge denied plaintiffs’

23    motion for summary judgment and granted Federal Defendants’ cross motion for summary

24    judgment on both claims.

25           In sum, final judgment was entered as to the first and third claims on September 23, 2009,

26    (Doc. No. 873); the fifth claim for relief was dismissed on February 23, 2017 (Doc. No. 1069);
27    and the second and fourth claims were resolved on cross motions for summary judgment decided

28    February 26, 2019 (Doc. No. 1314). The discovery-related claim that is tied to plaintiffs’ sixth
                                                      9
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 1    claim for relief will be resolved herein. That will leave unresolved only the sixth claim for relief,

 2    which, as mentioned, has been stayed.

 3               PLAINTIFFS’ REQUEST FOR ENTRY OF SEPARATE JUDGMENT

 4            Plaintiffs request entry of separate judgment on their second, fourth, and fifth claims for

 5    relief. Federal Rule of Civil Procedure 54(b) provides that “[w]hen an action presents more than

 6    one claim for relief . . . or multiple parties are involved, the court may direct entry of a final

 7    judgment as to one or more, but fewer than all, claims or parties only if the court determines that

 8    there is no just reason for delay.” To do so, the district court “must first determine that it has

 9    rendered a final judgment, that is, a judgment that is an ultimate disposition of an individual claim

10    entered in the course of a multiple claims action.” Wood v. GCC Bend, LLC, 422 F.3d 873, 878

11    (9th Cir. 2005) (internal quotation marks omitted). Second, “it must determine whether there is

12    any just reason for delay.” Id. As the Supreme Court has explained, the rule was adopted “to

13    avoid the possible injustice of delaying judgment on a distinctly separate claim pending

14    adjudication of the entire case.” Gelboim v. Bank of Am. Corp., 574 U.S. 405, 409 (2015)

15    (internal quotation marks and brackets omitted). However, concerns about judicial economy

16    counsel that Rule 54(b) should be used sparingly. See Curtiss-Wright Corp. v. Gen. Elec. Co.,

17    446 U.S. 1, 10 (1980) (“Plainly, sound judicial administration does not require that Rule 54(b)

18    requests be granted routinely.”); Morrison-Knudsen Co. v. Archer, 655 F.2d 962, 965 (9th Cir.

19    1981) (directing that Rule 54(b) be “reserved for the unusual case in which the costs and risks of

20    multiplying the number of proceedings and of overcrowding the appellate docket are outbalanced
21    by pressing needs of the litigants for an early and separate judgment as to some claims or

22    parties”). In deciding whether to grant judgment under the Rule, courts should consider “whether

23    the certified order is sufficiently divisible from the other claims such that the case would not

24    inevitably come back to this court on the same set of facts.’” Jewel v. Nat’l Sec. Agency, 810

25    F.3d 622, 628 (9th Cir. 2015) (internal quotation marks and citation omitted). That said, the

26    issues raised on appeal need not be “completely distinct” from the rest of the action, “so long as
27    resolving the claims would streamline the ensuing litigation.” Id.

28    /////
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 1           Applying the above standards to plaintiffs’ second, fourth, and fifth claims requires an

 2    understanding of how those claims relate to one another and to plaintiffs’ remaining sixth claim

 3    for relief. The second and fourth claims concern the effects on delta smelt of the renewal by

 4    Reclamation of long-term water contracts held by the DMC Contractors and the SRS Contractors.

 5    Specifically, as mentioned above, the fourth claim challenges the 2015 re-initiated consultation

 6    between FWS and Reclamation that was supposed to evaluate the impacts of the renewal of those

 7    contracts upon the delta smelt. (6SC at ¶¶ 189–94.) Plaintiffs alleged that the re-initiated

 8    consultation was arbitrary and capricious in violation of the APA. (Id.) Relatedly, in their second

 9    claim, brought against Reclamation, plaintiffs contend that Reclamation failed to satisfy its own

10    obligations under the ESA by executing and implementing the long-term contracts in reliance

11    upon what it should have known was a faulty re-initiated consultation on the impacts to delta

12    smelt. (Id. at ¶¶ 183–88.) The fifth claim alleges Reclamation failed to re-initiate consultation on

13    the alleged impact of the long-term SRS Contracts on ESA-listed winter-run and spring-run

14    Chinook salmon, particularly in light of the significant die off events that took place in the Upper

15    Sacramento River in 2014 and 2015. (Id. at ¶¶ 195-200.) The sixth claim for relief, which arises

16    under Section 9 of the ESA,5 alleges that both Reclamation and the SRS Contractors unlawfully

17    “took” ESA-listed winter-run and spring-run Chinook salmon in 2014 and 2015. (Id. at ¶¶ 201–

18    205.) Specifically, the sixth claim alleges that “excessive releases” made by Reclamation to

19    satisfy its contractual obligations to the SRS Contractors, and the SRS Contractors’ own diversion

20    of water, depleted the cold water pool in the Upper Sacramento River leading to excessively high
21    temperatures that were the “predominant and direct cause” of the loss of almost the entire “brood

22    year” of winter-run and spring-run Chinook in 2014 and 2015. (See id. at ¶ 204.)

23

24    5
        Section 9 of the ESA makes it unlawful for “any person” to “take” a listed species. 16 U.S.C.
      § 1538(a)(l)(B). The term “take” means “to harass, harm, pursue, hunt, shoot, wound, kill, trap,
25    capture, or collect, or to attempt to engage in any such conduct.” Id. § 1532(19). As used in the
26    statutory definition of “take,” the term “harm” is further defined by regulation to mean “an act
      which actually kills or injures fish or wildlife. Such an act may include significant habitat
27    modification or degradation which actually kills or injures fish or wildlife by significantly
      impairing essential behavioral patterns, including, breeding, spawning, rearing, migrating, feeding
28    or sheltering.” 50 C.F.R. § 222.102.
                                                        11
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 1           Generally speaking, there are some overlapping threads of fact and law that run between

 2    all of these claims. They all generally concern the impacts of long-term water contracts between

 3    Reclamation and various water contractors on ESA-listed species. But the commonalities do not

 4    extend very far beneath the surface. The second and fourth claims are distinct in many critical

 5    ways from plaintiffs’ fifth and sixth claims. For example, the second and fourth claims concern

 6    impacts to delta smelt, while the fifth and sixth claims concern impacts to winter-run and spring

 7    run Chinook salmon. The second and fourth claims either embody or are derivative of a

 8    substantive challenge to a completed ESA re-initiated consultation over the impacts of long-term

 9    contract renewal on delta smelt (the consultation that resulted in the 2015 LOC), while the fifth

10    claim alleges Reclamation unlawfully failed to re-initiate a parallel consultation on the impacts of

11    certain long-term contracts on winter-run and spring-run Chinook. Moreover, the legal inquiries

12    that apply to a substantive challenge to a completed ESA consultation are distinct from those that

13    apply to a largely procedural challenge to an agency’s failure to re-initiate consultation. The sixth

14    claim is even more distinct from the second and fourth claims, since the sixth claim does not

15    concern delta smelt, nor does it directly concern the ESA consultation process at all. Rather, as

16    the previously-assigned district judge explained, the sixth claim invokes the “take” prohibition of

17    ESA Section 9, which invokes many “concepts from tort law,” and requires factual proof that the

18    defendants’ conduct proximately caused the “take” of the listed species. (See Doc. No. 1269 at

19    19.) With all of this in mind, and having examined the record in detail, the court finds there is

20    little danger of inefficient duplication of appellate proceedings if an appeal with respect to
21    plaintiffs’ second and/or fourth claims were allowed to proceed at this time. The court will

22    therefore enter separate judgment as to the second and fourth claims.

23           Whether entry of separate judgment is appropriate as to plaintiffs’ fifth claim for relief is a

24    somewhat more difficult question. The fifth claim overlaps in some respects with the sixth claim

25    because plaintiffs invoke the 2014 and 2015 fish die offs in both of those claims. In the context

26    of the fifth claim, plaintiffs cite to the 2014 and 2015 die offs as a principal reason why
27    Reclamation should have re-initiated consultation on the SRS Contracts under 50 C.F.R.

28    § 402.16, which requires re-initiation of consultation “where discretionary Federal involvement or
                                                       12
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 1    control over the action has been retained or is authorized by law and: . . . (b) If new information

 2    reveals effects of the action that may affect listed species or critical habitat in a manner or to an

 3    extent not previously considered.” In the context of the sixth claim, the 2014 and 2015 die offs

 4    are central to plaintiffs’ theory of their claim, because plaintiffs contend that defendants’ actions

 5    proximately caused those die offs. At first glance, this commonality seems to suggest the fifth

 6    and sixth claims are not sufficiently divisible for purposes of Rule 54(b). But the devil is in the

 7    details. The previously assigned district judge’s February 23, 2017, dismissal of plaintiffs’ fifth

 8    claim for relief focused little on the facts of the 2014 and 2015 die off and much more on how

 9    plaintiffs framed their re-initiation claim and on whether Reclamation retained sufficient

10    “discretionary . . . involvement or control” over ongoing implementation of the SRS Contracts so

11    as to trigger the obligation to re-consult regarding the SRS Contracts. (See generally Doc. No.

12    1069.) Concluding after a detailed examination of plaintiff’s claim and the relevant contractual

13    provisions that Reclamation did not retain sufficient discretion, the court dismissed the fifth claim

14    for relief. (Id.)

15            The February 23, 2017 Order also dismissed part of plaintiffs’ sixth claim for relief.

16    Specifically, the district court found that to the extent Reclamation was contractually obligated to

17    make water deliveries to the SRS Contractors, it could not be the proximate cause of “take” under

18    ESA Section 9 with respect to those mandatory deliveries. (Doc. No. 1069 at 50–57.) In

19    reaching this conclusion, the district court also discussed the extent to which Reclamation

20    retained any discretion over deliveries under the SRS Contracts, incorporating by reference its
21    analysis of the SRS Contracts’ terms. (Id. at 56.) The undersigned does not believe that this

22    connection overwhelms the case for entry of separate judgment. In fact, given that the sixth claim

23    for relief has been stayed, the court believes that it may be more efficient to permit plaintiffs to

24    appeal on the highly complex issues of first impression raised by their fifth claim for relief. If the

25    appeal happens to change or clarify the legal landscape as to how the SRS Contract provisions are

26    to be interpreted, it is possible that such changes can be incorporated back into the sixth claim for
27    relief before that claim moves forward toward resolution. This is a highly unique procedural

28    situation justifying a unique approach. The court will therefore grant plaintiffs’ motion as to their
                                                        13
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 1    fifth claim and will enter separate judgment as to that claim as well.

 2                            STATUS OF SEVENTH CLAIM FOR RELIEF

 3           The remaining issue concerns plaintiffs’ seventh claim for relief. In early 2018, plaintiffs

 4    sought to depose as fact witnesses in this case two employees of NMFS, which is a branch of the

 5    National Oceanic and Atmospheric Administration (“NOAA”), which is in turn a branch of DOC,

 6    a non-party federal executive agency. (See generally Doc. No. 1160.) NOAA informed plaintiffs

 7    that, pursuant to internal policy, it would not authorize the witnesses to appear for the depositions.

 8    (See id. at 1, 3.) Plaintiffs moved to compel the depositions; Federal Defendants, on behalf of

 9    non-party DOC, moved to quash the deposition subpoenas. (See Doc. Nos. 1153, 1154.) During

10    the course of the resolving that discovery dispute, the assigned magistrate suggested, and the

11    parties agreed, to permit plaintiffs’ amendment of the complaint to add a parallel claim for

12    injunctive relief under the APA naming DOC as a defendant, to ensure that the court had personal

13    jurisdiction over the dispute. (See generally Doc. No. 1190 (Transcript of 2/15/2018 hearing) at

14    8, 15–16.) The resulting seventh claim for relief invokes the APA to compel DOC to authorize

15    the disputed deposition testimony. (Doc. No. 1187 at ¶¶ 206–212.)

16           On April 20, 2018, the magistrate judge denied the motion to quash and granted plaintiffs’

17    cross-motion to compel the testimony. (Doc. No. 1204.) The previously assigned district judge

18    construed the April 20, 2018, order as findings and recommendations because the magistrate

19    judge’s determination would “either dispose of entirely or moot in part or in full” the seventh

20    claim for relief (Doc. No. 1239), and then adopted those recommendations in full on January 29,
21    2020 (Doc. No. 1244). The depositions were then taken. (See Doc. No. 1399 at 1.)

22           The fate of plaintiffs’ seventh claim for relief remains in dispute, however. The district

23    court’s January 29, 2020 Order adopting the findings and recommendations reviewed relevant

24    authorities, which the court quotes here at length for the sake of expedience:

25                   The F&Rs properly apply [Exxon Shipping Co. v. Dep’t of Interior,
                     34 F.3d 774 (9th Cir. 1994)], which plainly held that “district courts
26                   should apply the federal rules of discovery when deciding on
                     discovery requests made against government agencies, whether or
27                   not the United States is a party to the underlying action.” 34 F.3d at
                     780. Exxon concerned a collateral complaint brought by Exxon
28                   against five federal agencies and their employees seeking to compel
                                                        14
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 1                discovery requested as part of its defense in the underlying damages
                  action arising out of the Exxon Valdez oil spill. 34 F.3d at 775.
 2                The agencies instructed eight federal employees not to submit to
                  deposition and restricted the testimony of two others. Id. Exxon
 3                contended that these decisions violated the Federal Housekeeping
                  Statute, 5 U.S.C. § 301, and the APA, 5 U.S.C. § 706(2)(A). Id.
 4                The district court found that § 301 authorized the agencies actions
                  and that the actions were not arbitrary and capricious under the
 5                APA. Id.

 6                The Ninth Circuit reversed, beginning its analysis with an
                  explanation of why United States ex. rel. Touhy v. Ragen, 340 U.S.
 7                462 (1951), did not support the district court’s conclusion. The
                  Ninth Circuit explained that in Touhy, the Supreme Court held “that
 8                an FBI agent could not be held in contempt for refusing to obey a
                  subpoena duces tecum when the Attorney General, acting pursuant
 9                to valid federal regulations governing the release of official
                  documents, had ordered him to refuse to comply.” Exxon, 34 F.3d
10                at 776 (citing Touhy, 340 U.S. at 469). Touhy specifically left open
                  the question of whether an agency head had the power to withhold
11                evidence from a court without a specific claim of privilege. Touhy,
                  340 U.S. at 467; see also In re Recalcitrant Witness Richard Boeh
12                v. Daryl Gates, 25 F.3d 761, 764 & n.4 (9th Cir. 1994) (noting that
                  Touhy did not decide the legality of agency heads’ executive
13                privilege claim).

14                The Ninth Circuit answered that open question in Exxon, at least
                  with sufficient clarity to bind lower courts within this Circuit under
15                the circumstances presented here. The Ninth Circuit reasoned that
                  § 301 “does not, by its own force, authorize federal agency heads to
16                withhold evidence sought under a valid federal court subpoena.” 34
                  F.3d at 777. This conclusion was based upon an extensive
17                evaluation of § 301’s legislative history, id. at 777–78, as well as
                  reference to prominent commentators on the issue, id. at 778 n.6
18                (quoting one commentator who reasoned that “[t]he proposition for
                  which Touhy is often cited—that a government agency may
19                withhold documents or testimony at its discretion—simply is not
                  good law and hasn’t been since 1958”).
20
                  The Ninth Circuit next rejected the government’s argument that
21                principles of sovereign immunity granted to agency heads the
                  authority to determine whether agency employees may testify. The
22                Ninth Circuit concluded that all of the cases cited for that
                  proposition involved the power of a state court to subpoena federal
23                officials, which does implicate sovereign immunity. The Ninth
                  Circuit refused to extend that logic to federal courts:
24
                         Moreover, under the government’s argument, sovereign
25                       immunity would authorize the executive branch to make
                         conclusive determinations on whether federal employees
26                       may comply with a valid federal court subpoena. Such a
                         broad definition would raise serious separation of powers
27                       questions. As the Supreme Court has said, “judicial control
                         over the evidence in a case cannot be abdicated to the
28                       caprice of executive officers.” United States v. Reynolds,
                                                   15
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 1                       345 U.S. 1, 9–10 (1953).

 2                Id. at 778. In addition, the Ninth Circuit concluded that “[t]he
                  government’s argument would also violate the fundamental
 3                principle that the public has a right to every man’s evidence.” Id. at
                  779 (internal quotation and alteration omitted).
 4
                  Finally, the Ninth Circuit acknowledged the government’s “serious
 5                and legitimate concern that its employee resources not be
                  commandeered into service by private litigants to the detriment of
 6                the smooth functioning of government operations,” but concluded
                  “that district courts can, and will, balance the government’s
 7                concerns under the general rules of discovery.” Id. at 779. The
                  Ninth Circuit expanded upon this reasoning by pointing to the
 8                numerous protections within the federal rules for litigants and
                  nonparties:
 9
                         The Federal Rules of Civil Procedure explicitly provide for
10                       limitations on discovery in cases such as this. Rule 26(c)
                         and Rule 45(c)(3) give ample discretion to district courts to
11                       quash or modify subpoenas causing “undue burden.” The
                         Federal Rules also afford nonparties special protection
12                       against the time and expense of complying with subpoenas.
                         See Fed. R. Civ. P. 45(c)(3)(A)(ii). In addition, the Rules
13                       can prevent private parties from exploiting government
                         employees as tax-supported pools of experts. See Fed. R.
14                       Civ. P. 45(c)(3)(B)(ii), (iii) (a court may in its discretion
                         disallow the taking of a non-retained expert’s testimony
15                       unless the proponent makes a showing of “substantial need”
                         that “cannot be otherwise met without undue hardship” and
16                       payment of reasonable compensation) (emphasis added).
                         The Rules also recognize and protect privileged
17                       information. See Fed. R. Civ. P. 45(c)(3)(A)(iii).

18                       In ruling on discovery requests, Rule 26(b)(2) instructs
                         district courts to consider a number of factors relevant to the
19                       government’s expressed interests. For example, a court may
                         use Rule 26(b) to limit discovery of agency documents or
20                       testimony of agency officials if the desired discovery is
                         relatively unimportant when compared to the government
21                       interests in conserving scarce government resources. See,
                         e.g., Moore v. Armour Pharmaceutical Co., 927 F.2d 1194,
22                       1198 (11th Cir.1991) (considering the “cumulative impact”
                         of repeated requests for the testimony of Center for Disease
23                       Control researchers working on a cure for the AIDS virus in
                         upholding a decision to quash a subpoena under Rule 45).
24
                  Id. at 779–80 (footnote omitted). In sum, the Ninth Circuit issued a
25                broad holding:

26                       Section 301 does not create an independent privilege to
                         withhold government information or shield federal
27                       employees from valid subpoenas. Rather, district courts
                         should apply the federal rules of discovery when deciding
28                       on discovery requests made against government agencies,
                                                    16
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 1                       whether or not the United States is a party to the underlying
                         action. Under the balancing test authorized by the rules,
 2                       courts can ensure that the unique interests of the government
                         are adequately considered.
 3
                  Id. at 780 (emphasis added).
 4
                  Joined/Intervenor Defendants first attempt to distinguish Exxon on
 5                the ground that “the holding in Exxon was decided under a claim
                  that was not brought under the [APA], and the court declined to
 6                reach the APA claim that the ‘agencies’ actions were arbitrary and
                  capricious under § 706(2)(A) until after further district court
 7                review, and, if necessary, fact-finding.” [(Doc No. 1240 at 2
                  (quoting Exxon, 34 F.3d at 780))]. It is true that immediately after
 8                the broad holding quoted above regarding the housekeeping statute,
                  the Ninth Circuit declined to reach Exxon’s APA claim as follows:
 9
                         Because of our disposition, we decline to reach Exxon’s
10                       claim that the agencies’ actions were arbitrary and
                         capricious under § 706(2)(A) until after further district court
11                       review, and, if necessary, fact-finding. Thus, we remand for
                         the court to exercise its discretion on Exxon’s discovery
12                       requests.

13                [34 F.3d at 780] The implication of this language is not entirely
                  clear, but a related discussion in footnote 11 sheds some light on
14                what the Ninth Circuit was getting at:

15                       The APA also authorizes judicial review of agency action
                         that is “arbitrary, capricious, an abuse of discretion, or
16                       otherwise unlawful.” 5 U.S.C. § 706(2)(A) (1982).
                         Because § 301 provides authority for agency heads to issue
17                       rules of procedure in dealing with requests for information
                         and testimony, an agency head will still be making the
18                       decisions on whether to comply with such requests in the
                         first instance. Thus, review under § 706(2)(A) will be
19                       available. However, we acknowledge that collateral APA
                         proceedings can be costly, time-consuming, inconvenient to
20                       litigants, and may “effectively eviscerate [ ]” any right to the
                         requested testimony. In re Recalcitrant Witness Boeh, 25
21                       F.3d at 770 n. 4 (Norris, J., dissenting) (if the plaintiff had a
                         right to obtain the witness’ testimony, “he had a right to
22                       obtain it when he needed it, which in this case was
                         immediately, when the trial was still going on”). Therefore,
23                       the need for district court review in such instances is all the
                         more compelling.
24
                  Exxon, 34 F.3d at 780 n.11. The Court believes this language is best
25                interpreted as standing for the proposition that, while an APA
                  collateral action may be available, it is not the only way to obtain
26                review of an agency decision regarding a discovery dispute. As the
                  Ninth Circuit plainly articulated, “district courts should apply the
27                federal rules of discovery when deciding on discovery requests
                  made against government agencies, whether or not the United
28                States is a party to the underlying action.” Id. at 780. At bottom,
                                                    17
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 1                   Exxon stands for the proposition that the fact that an APA claim
                     might also be outstanding and worthy of resolution at some point
 2                   should not stand in the way of a court resolving a discovery dispute
                     in a timely manner pursuant to the Federal Rules of Civil
 3                   Procedure. What the Ninth Circuit did not discuss, and from what
                     the Court can tell has yet to discuss anywhere, is what the
 4                   consequences of the Rules-based discovery decision might be for
                     any outstanding APA claim. Might it not moot that claim?
 5                   Perhaps, but perhaps not. There might be other aspects to an APA
                     challenge to an agency’s housekeeping determination regarding
 6                   disclosure of evidence that could survive a Rules-based discovery
                     decision. If a discovery ruling required only narrow disclosures, for
 7                   example, a plaintiff might still want to move forward with a
                     challenge under the APA asserting that the housekeeping
 8                   determination was arbitrary, capricious or contrary to law. All of
                     this is to say that, while the dual track suggested by Exxon is
 9                   somewhat perplexing, it is not nonsensical. In this Circuit, treating
                     a discovery dispute like the one presented here under the Federal
10                   Rules is not only lawful, it is required. The magistrate judge
                     properly concluded that the underlying discovery dispute could and
11                   should be resolved pursuant to the Federal Rules.

12    (Doc. No. 1244 at 3–7 (emphasis in original, footnotes omitted).)

13           In sum, based upon the above reasoning,6 Exxon permits a party to pursue parallel avenues

14    for relief from a federal agency’s refusal to comply with a subpoena: A rules-based motion to

15    compel and/or an APA claim seeking judicial review of the agency’s rationale for refusing to

16    comply. Such claims are not identical to one another nor would they follow the same procedural

17    pathways to resolution. The rules-based motion would likely permit speedier relief, while an

18    APA claim might provide alternative avenues for obtaining requested information. Here, it is

19    undisputed that the parties pursued only a rules-based motion to completion. What is less clear is

20    what happens now to plaintiffs’ seventh claim for relief. Federal Defendants maintain that the

21    court lacks subject matter jurisdiction over that claim. (Id. at 2–3.) Plaintiffs assert that the

22    court’s order compelling the depositions “fully and finally resolved” the merits of their seventh

23    claim and therefore that the court should enter judgment in their favor with respect to that claim.

24    (Doc. No. 1400.)

25           The court takes up plaintiffs’ contention first. At the risk of being overly repetitive, as

26    both the previously-assigned judge and the Ninth Circuit’s decision in Exxon explain, there are

27
      6
        The undersigned finds that the reasoning presented by the previously assigned district judge is
28    both persuasive and the law of this case.
                                                     18
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 1    distinctions between a rules-based motion to compel and a parallel APA claim. One of those

 2    distinctions of note is speed—a distinction the Ninth Circuit emphasized when it refused to cut

 3    off the possibility of a rules-based motion to compel a non-party federal agency to comply with a

 4    subpoena. See Exxon, 34 F.3d at 780 n.1 (“[W]e acknowledge that collateral APA proceedings

 5    can be costly, time-consuming, inconvenient to litigants, and may ‘effectively eviscerate [ ]’ any

 6    right to the requested testimony . . . Therefore, the need for district court review in such instances

 7    is all the more compelling.”). Another distinction is the scope of relief available. As mentioned,

 8    a separate APA claim could be used to pursue forms of relief either unavailable or not granted by

 9    way of a motion to compel. (See Doc. No. 1244 at 67 (explaining that “[i]f a discovery ruling

10    required only narrow disclosures, for example, a plaintiff might still want to move forward with a

11    challenge under the APA asserting that the [agency] determination was arbitrary, capricious or

12    contrary to law”).) Yet, here, despite having been given ample opportunity to explain their intent,

13    plaintiffs have indicated no plans to pursue any additional forms of relief. In fact, plaintiffs

14    disclaimed any intent to frame the seventh claim as a “true” APA claim (i.e., one invoking 5

15    U.S.C. § 706(1) to compel agency action unlawfully withheld under or 5 U.S.C. § 706(2)(A) to

16    hold unlawful and set aside agency action that is arbitrary and capricious); rather, plaintiffs admit

17    they only invoked the APA in their seventh claim for relief because the APA contains a waiver of

18    sovereign immunity as to all non-monetary claims against federal agencies brought pursuant to 5

19    U.S.C. § 702. (See Doc. No. 1203 at 2.) The court therefore interprets the seventh claim as

20    entirely derivative of plaintiffs’ rules-based motion. Plaintiffs do not appear to refute that their
21    seventh claim seeks relief identical to the relief they sought by way of their motion to compel.

22    (See Doc. No. 1400.) Plaintiffs fully pursued and succeeded on their motion to compel and the

23    depositions in question have taken place. Plaintiffs did not pursue further proceedings, such as a

24    motion for judgment on the pleadings or for summary judgment, to formally “resolve”7 their

25    /////

26    /////
27
      7
        Plaintiffs provide no authority to support their contention that they are automatically entitled to
28    judgment on the seventh claim simply because they prevailed on their motion to compel.
                                                       19
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 1    seventh claim for relief because doing so would have been almost8 entirely pointless.

 2           The question then becomes: is the seventh claim moot?9 An issue is moot “when the

 3    issues presented are no longer ‘live’ or the parties lack a legally cognizable interest in the

 4    outcome.” City of Erie v. Pap’s A.M., 529 U.S. 277, 287 (2000) (internal citation omitted). “The

 5    underlying concern is that, when the challenged conduct ceases such that there is no reasonable

 6    expectation that the wrong will be repeated, then it becomes impossible for the court to grant any

 7    effectual relief whatever to the prevailing party.” Id. (internal citations and quotations omitted).

 8    If the parties cannot obtain any effective relief, any opinion about the legality of a challenged

 9    action is impermissibly advisory. Id. “Mootness has been described as the doctrine of standing

10    set in a time frame: The requisite personal interest that must exist at the commencement of the

11    litigation (standing) must continue throughout its existence (mootness).” Arizonans for Official

12    English v. Arizona, 520 U.S. 43, 68 n. 22 (1997) (internal citation and quotation omitted). “[A]n

13    actual controversy must be extant at all stages of review, not merely at the time the complaint is

14    filed.” Id. at 67. Here, plaintiffs chose a procedural mechanism under the Rules to obtain

15    relatively speedy relief. Because they prevailed in obtaining all the relief they sought, they

16    cannot continue to pursue identical relief in a separate claim. The seventh claim for relief will

17    therefore be dismissed as moot.

18                                      CONCLUSION AND ORDER

19        For the reasons set forth above:

20        (1) Plaintiffs’ seventh claim for relief is DISMISSED AS MOOT;
21        (2) Plaintiffs’ request for entry of separate judgment under Federal Rule of Civil Procedure

22           54(b) as to their second, fourth, and fifth claims for relief is GRANTED;

23

24    8
        It is conceivable that in continuing their fight as to this claim, the parties are attempting to
      position themselves with respect to a future motion for attorney’s fees. The court expresses no
25    opinion at this point as to how its various rulings would impact its response to any such motion.
26    9
        The parties’ briefs discuss various bases upon which this court could exercise jurisdiction over
27    plaintiffs’ seventh claim for relief, including the doctrine of ancillary jurisdiction. The court need
      not delve into those matters because it resolves the matter on the separate jurisdictional ground of
28    mootness.
                                                         20
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 1       (3) Within fourteen (14) days of the date of this order, plaintiffs are directed to submit a

 2          proposed form of judgment consistent with this ruling; and

 3       (4) The stay remains in place as to the remaining aspects of plaintiffs’ sixth claim for relief.

 4    IT IS SO ORDERED.
 5
         Dated:    November 3, 2020
 6                                                       UNITED STATES DISTRICT JUDGE

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